                                          Case 4:22-cr-00066-YGR Document 58 Filed 02/06/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     M.R.,                                              Case No. 22-cv-05137-VKD
                                                        Plaintiff,
                                   9
                                                                                            ORDER REFERRING CASE TO
                                                 v.                                         CONSIDER WHETHER CASES ARE
                                  10
                                                                                            RELATED
                                  11     FEDERAL CORRECTIONAL
                                         INSTITUTION FCI DUBLIN, et al.,
                                  12
Northern District of California




                                                        Defendants.
 United States District Court




                                  13
                                              On September 9, 2022, plaintiff filed this case against defendants Federal Correctional
                                  14
                                       Institution Dublin, Ross Klinger, Ray J. Garcia, and the United States of America. Dkt. No. 1. In
                                  15
                                       a motion to relate filed on January 3, 2023, and in a status update regarding service of process
                                  16
                                       filed on February 6, 2023, M.R. states that this case is related to Case No. 22-cv-08924, M.S. v.
                                  17
                                       Federal Correctional Institution - Dublin et al. It further appears that this case may be related to
                                  18
                                       Case No. 22-cr-00066, United States v. Bellhouse. Pursuant to Civil Local Rule 3-12(c), the
                                  19
                                       undersigned refers this action to Judge Gonzalez Rogers to consider whether the cases are related.
                                  20
                                              IT IS SO ORDERED.
                                  21
                                       Dated: February 6, 2023
                                  22

                                  23

                                  24                                                                VIRGINIA K. DEMARCHI
                                                                                                    United States Magistrate Judge
                                  25

                                  26
                                  27

                                  28
